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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     DUBLIN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )           CR 315-006
                                              )
ANNA MARIE McDONALD                           )
                                          _________

                                         ORDER
                                         _________

       Defendant Anna Marie McDonald filed a motion to preserve evidence, including rough

notes of agents. (Doc. no. 17.) Defendant does not demand disclosure or production of this

evidence, merely preservation. While this material is not generally discoverable, it may later

during trial have probative value for purposes of impeachment.      The Court GRANTS the

motion, and the government is instructed to preserve all evidence in this case, including rough

notes authored by agents.

       SO ORDERED this 6th day of August, 2015, at Augusta, Georgia.
